           Case 2:17-cv-04540-WB Document 302 Filed 10/23/23 Page 1 of 4




                        THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 COMMONWEALTH OF PENNSYLVANIA

                     Plaintiff,                         Civil Action No. 2:17-cv-4540 (WB)
 v.

 JOSEPH R. BIDEN, in his official capacity as
 President of the United States, et al.

                     Defendants.



                                        STATUS REPORT
         On August 2, 2021, the Court entered an order staying this case and instructing Federal

Defendants to file a status report on or before October 29, 2021 and every 90 days thereafter.

ECF No. 281. And on January 3, 2022, the Court issued an order directing that the case remain

stayed, and that Federal Defendants file a status report on or before January 27, 2022, and every

90 days thereafter. ECF No. 283. Federal Defendants report the following:

      1. This case involves a challenge to final rules the defendant agencies issued in 2018

         expanding the prior religious exemption to the contraceptive coverage requirement and

         creating a new moral exemption. See Religious Exemptions and Accommodations for

         Coverage of Certain Preventive Services Under the ACA, 83 Fed. Reg. 57,536 (Nov. 15,

         2018); Moral Exemptions and Accommodations for Coverage of Certain Preventive

         Services Under the ACA, 83 Fed. Reg. 57,592 (Nov. 15, 2018).

      2. This Court entered a preliminary injunction; the judgment was reversed and remanded by

         the Third Circuit on August 21, 2020, following the Supreme Court’s decision in Little

         Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367 (2020).



                                                  1
     Case 2:17-cv-04540-WB Document 302 Filed 10/23/23 Page 2 of 4




3. This Court has before it fully briefed dispositive motions. See, e.g., ECF Nos. 252, 254,

   255.

4. On July 30, 2021, Federal Defendants filed a motion asking the Court to stay the case to

   permit them to evaluate the issues presented by this litigation, as well as their regulatory

   and policy options. ECF No. 279. The Court had previously granted two other similar

   motions made by Federal Defendants. See ECF Nos. 271, 275.

5. On August 2, 2021, the Court granted Federal Defendants’ motion and entered an order

   staying the case. ECF No. 281. In that order, the Court also instructed Federal

   Defendants to file a “status report on or before October 29, 2021, and every 90 days

   thereafter.” Id.

6. On August 16, 2021, Federal Defendants announced that “[t]he Departments [of Health

   and Human Services, the Treasury, and Labor] intend to initiate rulemaking within 6

   months to amend the 2018 final regulations and obtaining public input will be included as

   part of the Departments’ rulemaking process.” CMS.Gov, Frequently Asked Questions,

   Affordable Care Act Implementation FAQs (Set 48) (Aug. 16, 2021) (available at

   https://www.cms.gov/CCIIO/Resources/Fact-Sheets-and-FAQs#Affordable_Care_Act).

7. On January 3, 2022, the Court issued an order directing that the case remain stayed, and

   that Federal Defendants file a status report on or before January 27, 2022, and every 90

   days thereafter. ECF No. 283.

8. In April 2023, Defendants notified the Court that they had published a notice of proposed

   rulemaking in February 2023 that would “amend regulations regarding coverage of

   certain preventive services under the Patient Protection and Accordable Care Act, which

   requires non-grandfathered group health plans and non-grandfathered group or individual



                                             2
      Case 2:17-cv-04540-WB Document 302 Filed 10/23/23 Page 3 of 4




   health insurance coverage to cover certain contraceptive services without cost sharing.”

   U.S. Dep’t of Treasury, U.S. Dep’t of Labor, & U.S. Dep’t of Health & Human Servs.,

   Coverage of Certain Preventive Services Under the Affordable Care Act, 88 Fed. Reg.

   7236 (Feb. 2, 2023), https://federalregister.gov/documents/2023/02/02/2023-

   01981/coverage-of-certain-preventive-services-under-the-affordable-care-act. The

   comment period for the proposed rule closed on April 3, 2023. The Federal Defendants

   received over 44,000 comments to the proposed rule.

9. The Federal Defendants report that review and assessment of the thousands of comments

   to the proposed rule is ongoing. To allow time for a full evaluation of regulatory and

   policy options, Federal Defendants propose that the case remain stayed, and that Federal

   Defendants continue to file status reports every 90 days to apprise the Court of the status

   of the rulemaking and their position on the need for a continued stay.

10. Plaintiffs have advised that they do not oppose keeping the litigation in its current

   posture.




                                              3
        Case 2:17-cv-04540-WB Document 302 Filed 10/23/23 Page 4 of 4




Dated: October 23, 2023            Respectfully submitted,
                                   BRIAN NETTER
                                   Deputy Assistant Attorney General

                                   MICHELLE R. BENNETT
                                   Assistant Director, Federal Programs Branch

                                   /s/ Rebecca Kopplin
                                   REBECCA KOPPLIN
                                   MICHAEL J. GERARDI
                                   DANIEL RIESS
                                   Trial Attorneys
                                   U.S. Department of Justice
                                   Civil Division, Federal Programs Branch
                                   1100 L St. NW
                                   Washington DC 20005
                                   202 514 3953
                                   rebecca.m.kopplin@usdoj.gov




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